                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


ESTATE OF ANTONIO GONZALEZ,
          Plaintiff,

      v.                                              Case No. 21-cv-0848

JOSEPH ANTHONY MENSAH, et al.,
         Defendant.


ESTATE OF JAY ANDERSON, JR., et al.,
          Plaintiff,

      v.                                              Case No. 21-cv-1179

JOSEPH ANTHONY MENSAH, et al.,
           Defendant.
______________________________________________________________________

ESTATE OF ALVIN COLE, et al.,
          Plaintiff,

      v.                                              Case No. 22-cv-0856

JOSEPH ANTHONY MENSAH, et al.,
           Defendant.
______________________________________________________________________

                               DECISION AND ORDER

      Plaintiffs in these consolidated cases are the estates and relatives of individuals

who were fatally shot by defendant, Wauwatosa police officer Joseph Mensah. Plaintiffs

bring claims under § 1983 and Wisconsin law against Mensah, former Wauwatosa police

chief Barry Weber, the City of Wauwatosa, and the Cities and Villages Mutual Insurance

Company (“CVMIC”). Before me now are defendants’ motions to dismiss in the Anderson

and Cole cases.




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                                     I. ALLEGATIONS

       On July 15, 2015, defendant Mensah responded to a call about an intoxicated

Hispanic individual, Antonio Gonzales, who had threatened his boyfriend with a knife.

Plaintiffs allege that, when Mensah arrived, Gonzales’s boyfriend was safe, and Gonzales

no longer posed a threat. When Mensah arrived, Gonzales was holding what plaintiffs

describe as a decorative sword. Plaintiffs allege that Mensah ordered Gonzales to drop

the sword and, without giving Gonzales time to respond, fired his weapon eight times,

killing Gonzales. Mensah was placed on inactive duty for four months. Plaintiffs allege

that defendant Weber returned Mensah to active duty without conducting an internal

investigation into the shooting or a fitness for duty exam and later awarded Mensah a

medal of valor for his conduct.

       On June 23, 2016, Mensah encountered Jay Anderson Jr., an African American,

sleeping in his car in a parking lot adjacent to a park. Plaintiffs allege that Mensah woke

Anderson and ordered him to put his hands above his head, that Anderson complied with

the order but that Mensah fired on him until his gun was empty, killing him.

       On February 2, 2020, Mensah and other Wauwatosa Police Department “WPD”

officers were dispatched to a mall after receiving a report of a verbal dispute. Upon their

arrival, they witnessed Alvin Cole, an African American, exit the mall and chased him on

foot. Cole had a gun, and the officers ordered him to drop it. Plaintiffs allege that, while

attempting to drop the gun, Cole accidently shot himself in the forearm, that he then

dropped the gun and dropped to his hands and knees, and, ten seconds later, Mensah

ran towards him and, without giving any additional directions, shot him five times, killing

him. Weber later awarded Mensah a medal of valor for his conduct.

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       Plaintiffs allege that the WPD maintained a culture of racism; in the 1980s and

1990s, it organized “MLK parties” at which officers would dress in black face while wearing

name tags bearing the names of African Americans and distribute Ku Klux Klan and white

supremacist literature. Plaintiffs allege that then police chief Weber failed to discipline the

attending officers and promoted several, some of whom were supervisors at the time of

Mensah’s shootings. Plaintiffs also allege that the WPD over-policed African Americans

and that, while slightly more than 5% of Wauwatosa’s residents are African American, in

2018, 83% of WPD arrests and 64% of its traffic stops involved people of color. Plaintiffs

also allege that the WPD has a longstanding practice of using excessive force, especially

against people of color. In addition to the Mensah shootings, they point to excessive force

incidents against African Americans occurring in 2002 and 2006.

                                      II. DISCUSSION

       To avoid dismissal under Fed. R. Civ. P. 12(b)(6), a complaint must “state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The complaint must, at a minimum,

“give the defendant fair notice of what the claim is and the grounds upon which it rests.”

Twombly, 550 U.S. at 555. In construing plaintiff’s complaint, I assume that all factual

allegations are true but disregard statements that are conclusory. Iqbal, 556 U.S. at 678.

   A. Excessive Force Claims Against Weber and the City

       Defendants move to dismiss plaintiff’s excessive force claims against Weber and

the City. Plaintiffs bring these claims pursuant to the Fourth Amendment. Graham v.

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Connor, 490 U.S. 386, 388 (1989). Plaintiffs bring individual and official capacity claims

against Weber. Defendants argue that plaintiffs’ individual capacity claims against him fail

because he was not personally involved in the shootings of Anderson and Cole. To be

liable under § 1983, a supervisor must be personally involved in the deprivation of a

constitutional right. Matthews v. City of East St. Louis, 675 F.3d 703, 708 (7th Cir. 2012).

“To show personal involvement, the supervisor must ‘know about the conduct and

facilitate it, approve it, condone it, or turn a blind eye for fear of what they might see,” Id.

(quoting Jones v. City of Chicago, 856 F.2d 985, 992-93 (7th Cir. 1988)). A supervisor’s

negligence is insufficient to establish personal involvement; the supervisor must “act

either knowingly or with deliberate, reckless indifference.” Jones, 856 F.2d at 992.

       Plaintiffs allege that Weber knew Mensah had previously shot Gonzales, that he

had failed to conduct an internal investigation of the shooting and that he failed to

determine whether Mensah was fit for duty before returning him to active duty. Plaintiffs

allege that these failures indicate that Weber turned a blind eye toward whether the

Gonzales shooting was justified and recklessly disregarded whether Mensah posed a

danger to the constitutional rights of others such as Anderson and Cole. Plaintiffs further

allege that by awarding Mensah a medal of valor for the Gonzales shooting, Weber

condoned Mensah’s conduct. These allegations are enough for plaintiffs to withstand

Weber’s motion based on the issue of his personal involvement. Plaintiffs’ official capacity

claims against Weber are duplicative of his claims against the City and, therefore, must

be dismissed.

       In order to survive the City’s motion, plaintiffs must allege that the constitutional

violation they complain of was brought about by (1) an express municipal policy; (2) a de

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facto custom or practice; or (3) a decision by a municipal agent with “final policymaking

authority.” Darchak v. City of Chicago Bd. of Ed., 580 F.3d 622, 629 (7th Cir. 2009).

Plaintiffs allege that the City had a de facto practice of using excessive force against

people of color, that the City was on notice of this practice and that the practice brought

about the shootings of Anderson and Cole. See, e.g., Palmer v. Marion Cty., 327 F.3d

588, 596 (7th Cir. 2003); Bd. of Cty. Comm'rs of Bryan Cty., Okla. v. Brown, 520 U.S.

397, 407 (1997).

       In support of their claim, plaintiffs allege several previous incidents of excessive

force against people of color, including the Gonzales incident, statistics showing that City

officers stopped and arrested a much higher percentage of African Americans than whites

and that the WPD had a history of not disciplining officers for racist behavior. Defendants

argue that plaintiffs’ allegations fall short of establishing a custom or practice. At the

pleading stage, however, the bar is not as high as in subsequent stages of the case.

Williams v. City of Chicago, 314 F.Supp.3d 1060, 1079 (N.D. Ill. 2018) (collecting cases).

Considering all the circumstances, plaintiffs identify three incidents of alleged excessive

force against people of color preceding the Anderson shooting and four preceding the

Cole shooting. Plaintiffs’ also allege a practice of over-policing African Americans, of

racist behavior by officers going undisciplined and of Mensah being awarded medals for

shootings. At this stage of the case, this is enough for plaintiffs to withstand the City’s

motion.

       Plaintiffs also allege that Weber, a final policy maker, caused the shootings of

Anderson and Cole by clearing Mensah for active duty without conducting a fitness for



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duty test or an internal investigation of the Gonzales matter. This, too, is sufficient to

enable plaintiffs to proceed on their claim against the City.

   B. Equal Protection Claims Against Mensah, Weber and the City

       Plaintiffs also allege that Mensah, Weber and the City deprived them of equal

protection of the law by using excessive force against Cole and Anderson because of

their race. This claim is largely duplicative of plaintiffs’ excessive force claim. To state an

equal protection claim, plaintiffs must allege that “the defendant acted with a

discriminatory purpose and discriminated against [them] because of [their] membership

in an identifiable group.” Dunnet Bay Const. Co. v. Borggren, 799 F.3d 676, 697 (7th Cir.

2015). Based on the parties’ agreement, this claim will be dismissed as to Weber. The

other defendants argue that the claims against them fail because plaintiffs do not identify

similarly situated white suspects. But prior to discovery, plaintiffs are not required to do

so. Geinosky v. City of Chicago, 675 F.3d 743, 748 n. 3 (7th Cir. 2012) (“Even the more

demanding pleading requirements under Iqbal and Twombly do not require a plaintiff to

identify specific comparators in a complaint.”) Thus, plaintiffs may proceed on this claim

against Mensah and the City.

   C. Claims for Loss of Society and Companionship

       Defendants move to dismiss a claim for loss of society and companionship under

§ 1983 brought by J.A., Anderson’s daughter. Defendants argue that J.A. lacks standing

to bring a claim for loss of society and companionship because she cannot show that her

constitutional rights, as opposed to those of her father, were violated. The Seventh Circuit

has yet to consider whether minor children have standing to bring claims under § 1983

for the loss of society or companionship of a parent. Defendants ask me to extend the

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holding of Russ v. Watts, which established that parents do not have “a constitutional

right to recover for the loss of companionship of an adult child when that relationship is

terminated” as a result of state action. 414 F.3d 783, 791 (7th Cir. 2005). But in Russ, the

court declined to consider whether a minor child could recover for the loss of

companionship of a parent, stating that a minor child’s “need for guidance and support of

their parents warrants sharply different constitutional treatment.” Id. at 790. The only

courts in this district to consider the issue have inferred from this language that minor

children may proceed on loss of society and companionship claims brought under § 1983

for the loss of a parent. Est.of Fiebrink by Cade v. Armor Corr. Health Servs., Inc., 2019

WL 1980625, at *11 (E.D. Wis. May 3, 2019); Avery v. City of Milwaukee, 2015 WL

13016242, at *1 (E.D. Wis. May 19, 2015); see also Mombourquette ex rel.

Mombourquette v. Amundson, 469 F.Supp.2d 624, 654 (W.D. Wis. 2007). I agree with

the reasoning of these courts. If plaintiffs can show that Anderson’s death was caused by

a violation of his constitutional rights, J.A. may recover for the loss of society and

companionship.

       J.A., the Estate of Jay Anderson and Starkiesha Delarosa also bring claims for

loss of society and companionship under state law. But, under Wisconsin law, damages

for loss of society and companionship may only be “awarded to the spouse, children or

parents of the deceased, or to the siblings of the deceased, if the siblings were minors at

the time of the death.” Wis. Stat. § 895.04(4). Delarosa was the mother of Anderson’s

child, but not his spouse. And the Estate of Jay Anderson is obviously not a child, parent,

spouse or sibling of the deceased. Accordingly, the claims for loss of society and



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companionship brought by Delarosa and the Estate must be dismissed. Because J.A. is

Anderson’s daughter, she may proceed with her state law claim.

   D. Other Claims

      Plaintiffs bring an assortment of other claims such as a purported deliberate

indifference claim under the Fourteenth, as opposed to the Fourth Amendment, an

indemnity claim, claims under § 1983 against CVMIC and claims involving damages.

These claims are either duplicative or inappropriately concern available relief and must

be dismissed.

                                  III. CONCLUSION

      For the reasons stated, IT IS ORDERED that the motion to dismiss at ECF no. 50

in 21-cv-1179 is GRANTED IN PART and DENIED IN PART as explained above.

      IT IS FURTHER ORDERED that the motion to dismiss at ECF no. 21 in 22-cv-856

is GRANTED IN PART and DENIED IN PART as explained above.

      Dated at Milwaukee, Wisconsin, this 11th day of April, 2023.



                                               /s/Lynn Adelman
                                               LYNN ADELMAN
                                               United States District Judge




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